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                                  4                          IN THE UNITED STATES DISTRICT COURT

                                  5                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  7                                                   Case No. 19-md-02918-MMC
                                         IN RE: HARD DISK DRIVE
                                  8      SUSPENSION ASSEMBLIES
                                         ANTITRUST LITIGATION                         ORDER DENYING END-USER
                                  9                                                   PLAINTIFFS' ADMINISTRATIVE
                                                                                      MOTION TO SEAL; DIRECTIONS TO
                                  10                                                  END-USER PLAINTIFFS

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                                  12     This Document Relates to:
Northern District of California
 United States District Court




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                                         All End-User Plaintiff Actions
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                                             Before the Court is End-User Plaintiffs' "Administrative Motion Re Filing Document
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                                       Under Seal," filed December 3, 2020, whereby End-User Plaintiffs seek leave to file
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                                       under seal the unredacted version of the Second Amended Consolidated Class Action
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                                       Complaint ("SACCAC"), on the ground that said pleading contains information designated
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                                       as confidential by defendants. Defendants have filed a response, to which End-User
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                                       Plaintiffs have replied.1 Having read and considered the parties' respective written
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                                       submissions, the Court rules as follows.
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                                             The only material in the SACCAC defendants assert should be filed under seal
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                                              End-User Plaintiffs' unopposed administrative motion for leave to file a reply is
                                  28   hereby GRANTED.
                                        Case 3:19-md-02918-MMC Document 310 Filed 01/05/21 Page 2 of 2




                                   1   consists of the names of board members, officers, and employees of one or more

                                   2   defendants, which individuals are alleged to be participants in the antitrust conspiracy

                                   3   asserted in the SACCAC and who have not been indicted. As End-User Plaintiffs point

                                   4   out, however, the names of the majority of such individuals, as well as an allegation that

                                   5   each such individual is a member of the asserted conspiracy, are already filed in the

                                   6   public record. Moreover, to the extent the names of any of the listed individuals are not

                                   7   already in the public record, the instant case is distinguishable from the cases on which

                                   8   defendants rely, see, e.g., United States v. Smith, 776 F.2d 1104, 1113-14 (3rd Cir.

                                   9   1985) (holding names of unindicted possible co-conspirators properly filed under seal,

                                  10   where, inter alia, said individuals would "not have an opportunity to prove their innocence

                                  11   at trial"), in that defendants here have every incentive to demonstrate the innocence of

                                  12   the subject board members, officers, and employees, as it is the conduct of such
Northern District of California
 United States District Court




                                  13   individuals on which defendants' liability is based.

                                  14          Accordingly, the administrative motion is hereby DENIED, and End-User Plaintiffs

                                  15   are DIRECTED to file in the public record, no later than seven days from the date of this

                                  16   order, the unredacted version of the SACCAC.

                                  17          IT IS SO ORDERED.

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                                  19   Dated: January 5, 2021
                                                                                              MAXINE M. CHESNEY
                                  20                                                          United States District Judge
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